            Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 1 of 20



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
United States Department of Justice
Antitrust Division
450 Fifth Street, N.W., Suite 8700
Washington, D.C. 20530,

       Plaintiff,

               v.

CRH PLC
Belgard Castle
Dublin, Ireland 22,

CRH AMERICAS MATERIALS, INC.
900 Ashwood Parkway
Suite 600
Atlanta, Georgia 30338,

      and

POUNDING MILL QUARRY CORPORATION
171 Saint Clair Crossing
Bluefield, Virginia 24605,

       Defendants.


                                         COMPLAINT

       The United States of America (“United States”), acting under the direction of the

Attorney General of the United States, brings this civil antitrust action against defendants CRH

plc (“CRH”), CRH Americas Materials, Inc. (“CRH Americas”), and Pounding Mill Quarry

Corporation (“Pounding Mill”) to enjoin CRH Americas’ proposed acquisition of Pounding

Mill’s assets. If defendants are permitted to consummate this acquisition, it would substantially

lessen competition for the supply of aggregate and asphalt concrete in southern West Virginia.

The United States alleges as follows:
             Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 2 of 20



I.     INTRODUCTION

       1.      CRH Americas’ acquisition of Pounding Mill’s aggregate quarries would secure

CRH Americas’ control over the supply of materials necessary to build and maintain roads and

bridges in southern West Virginia. Aggregate and asphalt concrete are the primary materials

used to build, pave, and repair roads. Aggregate is an essential input in asphalt concrete, which

is used to pave roads, and is also needed for other parts of road construction, such as the base

layer of rock that provides a foundation for paved roads. CRH Americas currently supplies both

aggregate and asphalt concrete in southern West Virginia and already holds significant shares in

each market.

       2.      The proposed acquisition would result in CRH Americas owning nearly all of the

aggregate quarries that supply southern West Virginia. CRH Americas and Pounding Mill are

the primary suppliers of aggregate for West Virginia Department of Transportation (“WVDOT”)

projects in that area, together supplying well over 80 percent of the aggregate purchased directly

by WVDOT or purchased by contractors for use in WVDOT projects. The proposed acquisition

would eliminate the head-to-head competition between CRH Americas and Pounding Mill. As a

result, prices for aggregate used for road construction would likely increase significantly if the

acquisition is consummated.

       3.      CRH Americas’ acquisition of Pounding Mill’s quarries also would strengthen the

virtual monopoly CRH Americas currently holds over the supply of asphalt concrete in southern

West Virginia. In that market, CRH Americas competes with only one small new entrant, which

has a small market share, but is poised to grow. That firm currently procures aggregate from

Pounding Mill which, unlike CRH Americas, has no presence in the asphalt-concrete market.

There are no alternative aggregate suppliers to which that asphalt-concrete competitor can

                                                 2
             Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 3 of 20



economically turn. The merger would give CRH Americas the means and incentive to

disadvantage or exclude its asphalt-concrete competitor by denying it access to aggregate,

reliable delivery, and competitive prices. Without access to a reliable source of aggregate, any

future asphalt-concrete suppliers would be barred from entering the southern West Virginia

market.

       4.      The state of West Virginia spends hundreds of millions of dollars on new

construction and road maintenance projects each year. With approximately 36,000 miles of

state-maintained roads, West Virginia boasts the sixth largest state-maintained road system in the

United States. Without competing suppliers for the necessary inputs for road construction and

other infrastructure projects, the state of West Virginia and federal and state taxpayers would pay

the price for CRH Americas’ control over these important markets. In light of these market

conditions, CRH Americas’ acquisition of Pounding Mill’s quarries would cause significant

anticompetitive effects in the markets for aggregate and asphalt concrete used for WVDOT road

projects in southern West Virginia. Therefore, the proposed acquisition violates Section 7 of the

Clayton Act, 15 U.S.C. § 18, and should be enjoined.

II.    DEFENDANTS AND THE PROPOSED TRANSACTION

       5.      Defendant CRH, a corporation headquartered in Ireland, is a global supplier of

building materials. In the United States, CRH, through its vast network of subsidiaries, is a

leader in the supply of aggregate, asphalt concrete, and ready mix concrete, among numerous

other things, conducting business in 44 states, and employing 18,500 people at close to 1,200

operating locations across the country. In 2015, CRH had global sales of approximately $26

billion, with sales in the United States of approximately $14 billion.



                                                 3
               Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 4 of 20



       6.       Defendant CRH Americas is incorporated in Delaware. CRH Americas’ principal

place of business is in Atlanta, Georgia, and the headquarters of its Mid-Atlantic Division is in

Dunbar, West Virginia. CRH Americas is a subsidiary (through its parent CRH Americas, Inc.)

of CRH plc. CRH Americas is one of the largest suppliers of aggregate, asphalt concrete, ready

mix concrete, and construction and paving services in the United States. CRH Americas has a

large network of subsidiaries in the United States that operate in different localities. For

example, West Virginia Paving, Inc. is a subsidiary of CRH Americas. West Virginia Paving,

Inc. is a highway grading and paving contractor throughout West Virginia.

       7.       Defendant Pounding Mill is a Delaware corporation headquartered in Bluefield,

Virginia. Pounding Mill owns and operates four quarries—three in Virginia and one in West

Virginia—from which it supplies aggregate. In 2015, Pounding Mill had sales of approximately

$44 million.

       8.       In June of 2014, CRH Americas and Pounding Mill signed a letter of intent

pursuant to which CRH Americas agreed to purchase Pounding Mill. The primary assets to be

acquired are Pounding Mill’s four quarries, including the real property associated with those

quarries, and the equipment used to operate the quarries. The parties entered into a purchase

agreement in March 2018.




                                                  4
               Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 5 of 20



III.   JURISDICTION AND VENUE

       9.       The United States brings this action pursuant to Section 15 of the Clayton Act, 15

U.S.C. §25, to prevent and restrain defendants from violating Section 7 of the Clayton Act, 15

U.S.C. § 18.

       10.      Defendants produce and sell aggregate, asphalt concrete, paving services, and

other products in the flow of interstate commerce. Defendants’ activity in the sale of aggregate

and other products substantially affects interstate commerce. The Court has subject matter

jurisdiction over this action pursuant to Section 15 of the Clayton Act, 15 U.S.C. § 25, and 28

U.S.C. §§ 1331, 1337(a), and 1345.

       11.      Defendants have consented to personal jurisdiction and venue in the District of

Columbia. Venue, therefore, is proper under Section 12 of the Clayton Act, 15 U.S.C. § 22 and

28 U.S.C. § 1391(c).

IV.    RELEVANT MARKETS

       A.       Relevant Product Markets

                1.     WVDOT Aggregate

       12.      Aggregate is particulate material that primarily includes crushed stone, sand, and

gravel. It is produced at mines, quarries, and gravel pits and is used for a variety of construction

projects. Aggregate generally can be categorized based on size into fine aggregate and coarse

aggregate. Within the categories of fine and coarse aggregate, aggregate is further identified

based on the size of the aggregate and the type of rock that it is. Aggregate can also differ based

on hardness, durability, and polish value, among other characteristics.




                                                 5
             Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 6 of 20



       13.     The various sizes and types of aggregate are distinct and often used for different

purposes. For example, the aggregate that is used as a road base may be different than the

aggregate that is mixed into asphalt concrete.

       14.     Aggregate is an essential component of road construction projects, such as

building or repairing roads. Aggregate is used in road projects as a base that is laid and

compacted under the asphalt concrete. Aggregate also is an essential ingredient in asphalt

concrete, which is used for paving roads and other areas. There are no substitutes for aggregate

in these types of road construction projects because no other material can be used for the same

purpose.

       15.     To evaluate the proposed acquisition’s effects on the market for aggregate, it is

appropriate to include all sizes and kinds of aggregate because, with limited exceptions, each size

and type of aggregate is offered under similar competitive conditions in the relevant geographic

market. Thus, the grouping of the various sizes and types of aggregate makes evaluating

competitive effects more efficient without undermining the reliability of the analysis. One

exception to this aggregation is “friction-course” aggregate, which is a specialized variety used

exclusively to create the anti-skid surface layer of roads. Pounding Mill does not have the ability

to manufacture friction-coarse aggregate and the competitive conditions for that product are not

similar to the remaining aggregate market.

       16.     Because different types, sizes, and qualities of aggregate are needed depending on

the intended use, the end-use customer establishes the exact specifications that the aggregate

must meet for each application. These specifications are designed by the project engineers to

ensure the safety and longevity of road construction projects.



                                                 6
             Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 7 of 20



       17.     WVDOT purchases significant quantities of aggregate for its road construction

projects, which include building, repairing, and maintaining roads and bridges in West Virginia.

For these projects, aggregate is needed as an input into the asphalt concrete that is used to pave

the roads. Aggregate is also necessary for other parts of the road or bridge, such as road base.

WVDOT also purchases significant quantities of aggregate for its maintenance yards. These

maintenance yards are used to store the aggregate purchased directly by WVDOT for use on the

projects WVDOT completes itself, instead of through a contractor, such as fixing a pothole or

repaving a small area of a road.

       18.     For each road project, WVDOT provides the precise specifications for the

aggregate used for asphalt concrete and road base, among other things. For example, particular

types of aggregate are used to strengthen the asphalt and ensure that the road remains stable.

WVDOT specifications are designed to ensure that the roads and bridges are built safely and

withstand heavy usage over time. WVDOT tests the aggregate used in its projects to ensure that

it meets specifications. The use of aggregate that does not meet WVDOT specifications could

compromise the safety of roads or bridges, or cause the need for repairs sooner than would

otherwise be required. Therefore, aggregate that does not meet WVDOT specifications cannot

be used.

       19.     A small but significant increase in the price of aggregate that meets WVDOT

specifications (hereinafter “WVDOT aggregate”) would not cause WVDOT to substitute other

types of materials in sufficient quantities, or to utilize aggregate that does not meet its

specifications, with sufficient frequency so as to make such a price increase unprofitable.

Accordingly, WVDOT aggregate is a line of commerce and a relevant product market within the

meaning of Section 7 of the Clayton Act.

                                                   7
             Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 8 of 20



               2.      WVDOT Asphalt Concrete

       20.     Asphalt concrete is a composite material that is used to surface roads, parking

lots, and airport tarmacs, among other things. Asphalt concrete consists of aggregate combined

with liquid asphalt and other materials. After it is mixed, the asphalt concrete is laid in several

layers and compacted. Asphalt concrete has unique performance characteristics compared to

other building materials, such as ready mix concrete. For example, asphalt concrete is the

desired material used to build roadways because it has optimal surface durability and friction,

resulting in low tire wear, high breaking efficiency, and low roadway noise. Other products

generally cannot be used as economically to build and maintain roadways and therefore are not

adequate substitutes. Ready mix concrete in particular is significantly more expensive for paving

roadways than asphalt concrete and takes significantly longer to set, delaying the use of the road.

Only in limited circumstances can ready mix concrete be used to build new roads. In addition,

ready mix concrete cannot be used for repairing asphalt-concrete roads.

       21.     WVDOT purchases significant quantities of asphalt concrete for road construction

and maintenance projects within the State of West Virginia. For each road project, WVDOT

provides the precise specifications for the asphalt concrete. WVDOT specifications are designed

to ensure that the roads are built safely and withstand heavy usage over time. WVDOT tests the

asphalt concrete used in its projects to ensure that it meets WVDOT specifications. Using

asphalt concrete that does not meet WVDOT specifications could compromise the safety of the

road or cause the need for repairs sooner than would otherwise be required. Therefore, asphalt

concrete that does not meet WVDOT specifications cannot be used.

       22.     A small but significant increase in the price of asphalt concrete that meets

WVDOT specifications (hereinafter “WVDOT asphalt concrete”) would not cause WVDOT to

                                                  8
             Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 9 of 20



substitute other materials in sufficient quantities, or to utilize asphalt concrete that does not meet

its specifications, with sufficient frequency so as to make such a price increase unprofitable.

Accordingly, WVDOT asphalt concrete is a line of commerce and a relevant product market

within the meaning of Section 7 of the Clayton Act.

       B.      Geographic Markets

               1.      WVDOT Aggregate

       23.     Aggregate is a relatively low-cost product that is bulky and heavy, with high

transportation costs. The geographic area an aggregate supplier can profitably serve is primarily

determined by: (1) the distance from the quarry to the job site where the aggregate is used; and

(2) the relative distance between the supplier’s competitor’s quarry and the job site compared to

its own. Suppliers know the importance of transportation costs to a customer’s selection of an

aggregate supplier and also know the locations of all their competitors. An aggregate supplier

can often charge a lower/more competitive price than its competitor if its quarry is closer to the

customer’s location than its competitor’s quarry.

       24.     CRH Americas owns and operates aggregate quarries located in Beckley and

Lewisburg, West Virginia. Those quarries sell WVDOT aggregate to customers with plant

locations or job sites in the following four counties in West Virginia: Wyoming, Raleigh,

Mercer, and Summers (these four counties are hereinafter referred to as “Southern West

Virginia”). Customers with plant locations or job sites within Southern West Virginia may also

economically procure WVDOT aggregate from Pounding Mill’s quarries located in Princeton,

West Virginia and Rocky Gap, Virginia, and from another smaller third-party quarry located in

Lewisburg, West Virginia. For many customer locations in Southern West Virginia, quarries



                                                  9
             Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 10 of 20



owned by CRH Americas and Pounding Mill are the two closest options and can quote different

prices based on the location of a customer in relation to each supplier’s quarries.

       25.     Figure 1 below shows the locations of CRH Americas’ and Pounding Mill’s

aggregate quarries in and near Southern West Virginia.

                   Figure 1: Locations of Defendants’ Aggregate Quarries




       26.     A small but significant post-acquisition increase in the price of WVDOT

aggregate to customers with plants or job sites in Southern West Virginia would not cause those

customers to substitute another product or procure aggregate from suppliers other than CRH

Americas, Pounding Mill, and the third competitor in sufficient quantities so as to make such a

price increase unprofitable. Accordingly, Southern West Virginia is a relevant geographic

market for WVDOT aggregate within the meaning of Section 7 of the Clayton Act.




                                                 10
              Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 11 of 20



                2.     WVDOT Asphalt Concrete

        27.     As with aggregate, the geographic area an asphalt-concrete plant can profitably

serve is primarily determined by the location of its plant in relation to the job site and the relative

location of competing suppliers. Asphalt-concrete suppliers typically deliver asphalt concrete to

a job site.

        28.     Distance from the plant to the job site is important for two reasons—temperature

and transportation costs. First, asphalt concrete must be maintained at a certain temperature

range before it is poured. If the temperature drops below that required by the asphalt-concrete

specifications, it cannot be used. The temperature of asphalt concrete drops as it travels from the

plant and drops faster in colder weather than in warmer weather. As a result, the distance

between an asphalt-concrete plant and the project site determines whether a plant can service a

particular geographic area. Second, asphalt concrete is heavy and as a result transporting it is

expensive. Therefore, the distance between the site where the asphalt concrete is poured and the

asphalt-concrete plant drives the transportation costs and has a considerable impact on the area a

supplier can profitably serve.

        29.     A further factor that determines the area a supplier can profitably serve is the

location of its plant in relation to the location of competing plants. Suppliers know the

importance of transportation costs to a customer’s selection of a supplier and also generally

know how far each competing supplier can deliver asphalt concrete. An asphalt-concrete

supplier often can charge a lower/more competitive price than its competitor if its plant is closer

to the customer’s location than its competitor’s plant.

        30.     CRH Americas has an advantage with respect to transportation costs because it

owns several asphalt-concrete plants in Southern West Virginia. CRH Americas owns and

                                                  11
             Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 12 of 20



operates three of the four asphalt-concrete plants that supply WVDOT asphalt concrete and serve

customers in Southern West Virginia. Customers with job sites in Southern West Virginia may

also economically procure WVDOT asphalt concrete from CRH Americas’ sole asphalt-concrete

competitor, which operates one asphalt-concrete plant in Mercer County. Pounding Mill does

not own any asphalt-concrete plants, though it is currently supplying CRH Americas’ competitor

in the production of asphalt concrete with the aggregate it needs to compete. Thus, the four

asphalt-concrete plants that serve Southern West Virginia procure aggregate from CRH

Americas and Pounding Mill.

       31.     Figure 2 below shows the locations of the four asphalt-concrete plants in Southern

West Virginia and the location of the aggregate quarries that supply those plants.

                  Figure 2: Asphalt-Concrete Plants and Serving Quarries




       32.     A small but significant post-acquisition increase in the price of WVDOT asphalt

concrete to customers with job sites in Southern West Virginia would not cause those customers

                                                12
             Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 13 of 20



to substitute another product or procure WVDOT asphalt concrete from suppliers other than

CRH Americas or its rival in sufficient quantities so as to make such a price increase

unprofitable. Accordingly, Southern West Virginia constitutes a relevant geographic market for

WVDOT asphalt concrete within the meaning of Section 7 of the Clayton Act.

V.     ANTICOMPETITIVE EFFECTS OF CRH AMERICAS’ ACQUISITION OF
       POUNDING MILL

       A.      Anticompetitive Effects in the Market for WVDOT Aggregate

       33.     If CRH Americas acquired Pounding Mill, competition would be substantially

lessened for the supply of WVDOT aggregate in Southern West Virginia. This market is already

highly concentrated and would become significantly more concentrated as a result of CRH

Americas’ acquisition of Pounding Mill’s quarries.

       34.     For all WVDOT aggregate supplied in Southern West Virginia, including

aggregate supplied to WVDOT through contractors for road projects and aggregate purchased

directly by WVDOT for its maintenance yards, CRH Americas and Pounding Mill’s combined

market share is well over 80 percent. Moreover, the companies’ combined share is even

higher—over 90 percent—for the aggregate supplied by contractors for use in road projects.

       35.     Acquisitions that reduce the number of competitors in already concentrated

markets are more likely to substantially lessen competition. Concentration can be measured in

various ways, including by market shares and by the widely-used Herfindahl-Hirschman Index

(“HHI”). Under the Horizontal Merger Guidelines, post-acquisition HHIs above 2,500 and

changes in HHI above 200 trigger a presumption that a proposed acquisition is likely to enhance

market power and substantially lessen competition in a defined market.




                                                13
             Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 14 of 20



       36.     Premerger, the HHI for aggregate supplied for WVDOT road projects is

approximately 4,350. The post-acquisition HHI is approximately 8,500, with an increase of over

4,000. For WVDOT aggregate purchased by WVDOT for its maintenance yards, the premerger

HHI is approximately 3,800. Post-acquisition, the HHI is approximately 6,700, with an increase

of nearly 3,000. Given the extraordinarily high pre- and post-acquisition concentration levels in

the relevant markets described above, CRH Americas’ proposed acquisition of Pounding Mill

presumptively violates Section 7 of the Clayton Act.

       37.     CRH Americas and Pounding Mill compete vigorously in the market for WVDOT

aggregate in Southern West Virginia. For many customers and job sites in that area, they are the

first- and second-best sources of supply for aggregate in terms of price, quality, and reliability of

delivery.

       38.     Only one other company, located in Lewisberg, West Virginia, is able to supply

WVDOT aggregate in Southern West Virginia in any meaningful quantity. But while this

competitor supplies WVDOT aggregate to maintenance yards, it has not bid on many road

projects, leaving only CRH Americas and Pounding Mill to compete for many of those large

projects.

       39.     While a few other small suppliers provide limited quantities of WVDOT

aggregate for maintenance yards in Southern West Virginia, they are unable to provide the large

quantity of aggregate needed on road projects and do not supply the types or quality of aggregate

needed for the asphalt concrete and road base. For example, the quarries located to the south and

west of Pounding Mill’s quarries are too far from Southern West Virginia to effectively compete

in the relevant market and, as a result, have a small share in that market and almost no influence

on price.

                                                 14
             Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 15 of 20



       40.     The proposed acquisition would substantially increase the likelihood that CRH

Americas would unilaterally increase the price of WVDOT aggregate to customers in Southern

West Virginia. Without the constraint of competition between CRH Americas and Pounding

Mill, the combined firm would have a greater ability to exercise market power by raising prices

to customers for whom CRH Americas and Pounding Mill were the two best sources of WVDOT

aggregate.

       41.     Therefore, the proposed acquisition would substantially lessen competition in the

market for WVDOT aggregate in Southern West Virginia. This is likely to lead to higher prices

for the ultimate consumers of such aggregate, in violation of Section 7 of the Clayton Act.

       B.      Anticompetitive Effects in the Market for WVDOT Asphalt Concrete

       42.     CRH Americas’ acquisition of Pounding Mill would substantially lessen

competition in the market for WVDOT asphalt concrete in Southern West Virginia. CRH

Americas has historically dominated this market. Pounding Mill does not compete directly with

CRH Americas in the asphalt-concrete market, but it is a supplier of aggregate to CRH

Americas’ only competitor. That competitor, a recent entrant, has begun making inroads in the

WVDOT asphalt-concrete market, and eroding CRH Americas’ dominant position. By building

its asphalt-concrete plant close to Pounding Mill’s quarry in Mercer County, this entrant

attempted to ensure that it would have a reliable, nearby source of aggregate, which allowed it to

charge competitive prices. Pounding Mill is uniquely positioned to provide asphalt-concrete

producers such as this entrant with competitively-priced aggregate, because it is not itself




                                                15
             Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 16 of 20



vertically integrated, and so has no incentive to raise the costs or otherwise disadvantage other

asphalt-concrete producers.

       43.     If the proposed acquisition were consummated, this entrant could no longer be

assured an economical source of WVDOT aggregate. Post-merger, CRH Americas would have

the ability and incentive to use its ownership of Pounding Mill’s quarries to disadvantage its rival

by either withholding WVDOT aggregate or supplying it at less favorable terms than Pounding

Mill currently provides.

       44.     Any post-merger conduct by CRH Americas that cuts off the supply of WVDOT

aggregate or raises the cost of that input, would weaken its asphalt-concrete rival’s ability to

compete on price. If CRH Americas’ rival cannot win WVDOT contracts, it may find it

impossible to stay in business, thereby ensuring CRH Americas’ control over the entire market

for WVDOT asphalt concrete in Southern West Virginia.

       45.     Post-acquisition, CRH Americas would have the incentive and ability to raise the

price or sacrifice sales of WVDOT aggregate in order to maintain its dominance in the asphalt-

concrete market. Such a strategy would be attractive in part because the sale of asphalt concrete

is significantly more profitable than the sale of aggregate. Therefore, if CRH Americas were

able to gain additional asphalt-concrete sales by raising the price of aggregate to its rival,

foreclosing supply, or delaying deliveries, the additional asphalt-concrete sales would be

considerably more profitable to CRH Americas than any lost aggregate sales.

       46.     By raising the costs of its sole competitor in the provision of WVDOT asphalt

concrete, CRH Americas likely would gain the ability to unilaterally raise the price of WVDOT

asphalt concrete in Southern West Virginia.



                                                  16
             Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 17 of 20



       47.     Therefore, the acquisition of Pounding Mill’s quarries would give CRH Americas

the incentive and ability to either eliminate or raise the costs of its sole asphalt-concrete

competitor. As a result, the acquisition would substantially lessen competition in the market for

WVDOT asphalt concrete in Southern West Virginia in violation of Section 7 of the Clayton

Act.

VI.    ENTRY WILL NOT CONSTRAIN CRH AMERICAS’ MARKET POWER IN
       THE RELEVANT MARKETS

       48.     Entry into the market for WVDOT aggregate in Southern West Virginia is

unlikely to be timely, likely, and sufficient to constrain CRH Americas’ market power post-

merger given the substantial time and cost required to open a quarry. Entry is likely to take two

years or more. First, securing the proper site for a quarry is difficult and time-consuming. There

are few sites on which to locate coarse aggregate operations in or near Southern West Virginia.

Finding land with the correct rock composition requires extensive investigation and testing of

candidate sites, as well as the negotiation of necessary land transfers, leases, and/or easements.

Further, the location of a quarry close to likely job sites is extremely important due to the high

cost of transporting aggregate. Once a location is chosen, obtaining the necessary permits is

difficult and time-consuming. Attempts to open a new quarry often face fierce public opposition,

which can prevent a quarry from opening or make opening it much more time-consuming and

costly. Finally, even after a site is acquired and permitted, the owner must spend significant time

and resources to prepare the land and purchase and install the necessary equipment.

       49.     Moreover, once a quarry is operating, a supplier must demonstrate that its

aggregate meets WVDOT specifications. WVDOT qualification requires testing. Until the




                                                  17
             Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 18 of 20



aggregate can meet these specifications, it cannot be used to supply WVDOT road construction

projects.

       50.     Entry into the market for WVDOT asphalt concrete in Southern West Virginia

also is unlikely to be timely, likely, and sufficient to constrain CRH Americas’ post-merger

market power. Potential entrants in WVDOT asphalt concrete must have access to WVDOT

aggregate. Only CRH Americas and one other competitor would be available to supply

WVDOT aggregate in Southern West Virginia and, for many locations in Southern West

Virginia, the remaining competitor would not be an economical alternative.

       51.     Post-acquisition, CRH Americas would have the incentive and opportunity to

foreclose its competitors’ access to WVDOT aggregate or disadvantage its rivals by either

withholding WVDOT aggregate or supplying it on less favorable terms. Lack of access to a

reliable, independent supply of aggregate would deter or prevent timely or sufficient entry into

the asphalt-concrete market in Southern West Virginia.

       52.     In addition, an entrant into the asphalt-concrete market would have to purchase

appropriate land close to an aggregate quarry, build a plant, procure the necessary land-use and

environmental permits, and obtain WVDOT approval of each asphalt-concrete mix made, among

other things. These actions involve significant costs and often lengthy time periods.

VII.   THE ACQUISITION VIOLATES SECTION 7 OF THE CLAYTON ACT

       53.     If allowed to proceed, CRH Americas’ proposed acquisition of Pounding Mill is

likely to substantially lessen competition in the markets for WVDOT aggregate in Southern West

Virginia and WVDOT asphalt concrete in Southern West Virginia in violation of Section 7 of the

Clayton Act, 15 U.S.C. § 18.



                                                18
              Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 19 of 20



        54.     Unless enjoined, the proposed acquisition likely would have the following

anticompetitive effects, among others:

                (a)    actual and potential competition between CRH Americas and Pounding

Mill in the market for WVDOT aggregate in Southern West Virginia would be eliminated;

                (b)    the sole remaining competitor for WVDOT asphalt concrete would lose its

aggregate supplier or be forced to pay significantly higher prices for aggregate, substantially

reducing price competition in the market for WVDOT asphalt concrete;

                (c)    prices for WVDOT aggregate in Southern West Virginia likely would

increase and customer service likely would decrease; and

                (d)    prices for WVDOT asphalt concrete in Southern West Virginia likely

would increase and customer service likely would decrease.

VIII. REQUESTED RELIEF

        55.     The United States requests that this Court:

                (a)    adjudge and decree that CRH Americas’ acquisition of Pounding Mill’s

assets would be unlawful and violate Section 7 of the Clayton Act, 15 U.S.C. § 18;

                (b)    preliminarily and permanently enjoin and restrain defendants and all

persons acting on their behalf from consummating the proposed acquisition of Pounding Mill or

its assets by CRH Americas, or from entering into or carrying out any other contract, agreement,

plan, or understanding, the effect of which would be to combine CRH Americas with Pounding

Mill;

                (c)    award the United States its costs for this action; and

                (d)    award the United States such other and further relief as the Court deems

just and proper.

                                                 19
Case 1:18-cv-01473 Document 1 Filed 06/22/18 Page 20 of 20
                         Case 1:18-cv-01473 Document 1-1 Filed 06/22/18 Page 1 of 2

                                                            CIVIL COVER SHEET
JS-44 Rev. 6/17 DC
  I. (a) PLAINTIFFS                                                           DEFENDANTS
 United States of America                                                    CRH plc
                                                                             CRH Americas Materials, Inc.
                                                                             Pounding Mill Quarry Corporation

 (Is) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF                              COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT                  99999 .
                    (EXCEPT IN U.S. PLAINTIFF CASES)                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                     NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED
 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                     ATTORNEYS (IF KNOWN)

Christine Hill                                                              John Fornaciari 202-861-1612 Jonathan Gowdy 202-887-8729
US Dept of Justice, Antitrust Division                                      BakerHostetler               Morrison & Foerster LLP
450 Fifth Street, N.W., Suite 8700                                          1050 Conn. Ave., NW          2000 Penn. Ave., NW
Washington, DC 20530 202-305-2738                                           Washington, DC 20036         Washington, DC 20006
                                                                        181                                                        U
 II. BASIS OF JURISDICTION                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
    (PLACE AN x IN ONE BOX ONLY)                                 PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                        PTF    DET                              PTF DFT
 0 1 U.S. Government       0 3 Federal Question
       Plaintiff                 (U.S. Government Not a Party)   Citizen of this State        01         01        Incorporated or Principal Place       0 4        04
                                                                                                                   of Business in This State
 0 2 U.S. Government       0 4 Diversity                         Citizen of Another State     02         0 2       Incorporated and Principal Place 0 5             05
       Defendant                (Indicate Citizenship of
                                                                                                                   of Business in Another State
                                Parties in item III)             Citizen or Subject of a      0 3        0 3
                                                                 Foreign Country                                   Foreign Nation                        06         06

                                           IV.CASE ASSIGNMENT AND NATURE OF SUIT
              lace an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 0 A. Antitrust          0 B. Personal Injury/                        0     C. Administrative Agency                          0 D. Temporary Restraining
                                   Malpractice                                 Review                                                     Order/Preliminary
 ED 410 Antitrust         = 310 Airplane                               = 151 Medicare Act
                                                                                                                                          Injunction
                          = 315 Airplane Product Liability                                                                     Any nature of suit from any category
                          ED 320 Assault, Libel & Slander              Social Security
                                                                       = 861 HIA (1395ff)                                      may be selected for this category of
                          = 330 Federal Employers Liability                                                                    case assignment.
                          = 340 Marine                                 = 862 Black Lung (923)
                          = 345 Marine Product Liability               = 863 DIWC/DIVVW (405(g))                               *(If Antitrust, then A governs)*
                          = 350 Motor Vehicle                          = 864 SSID Title XVI
                          = 355 Motor Vehicle Product Liability        = 865 RSI (405(g))
                          = 360 Other Personal Injury                  Other Statutes
                                                                       ED 891 Agricultural Acts
                          = 362 Medical Malpractice
                                                                            893 Environmental Matters
                          ri  365 Product Liability
                                                                       = 890 Other Statutory Actions (If
                          = 367 Health Care/Pharmaceutical
                                                                                Administrative Agency is
                                  Personal Injury Product Liability
                                                                                Involved)
                          = 368 Asbestos Product Liability

0 E. General Civ I (Other)                                 OR               0 F. Pro Se General Civil
 Real Property                        Bankruptcy                                   Federal Tax Suits                           El462 Naturalization
 =210 Land Condemnation               = 422 Appeal 27 USC 158                     El870 Taxes (US plaintiff or                            Application
 =220 Foreclosure                     = 423 Withdrawal 28 USC 157                       defendant)                             El465 Other Immigration
 =230 Rent, Lease & Ejectment                                                     El871 IRS-Third Party 26 USC                         Actions
 =240 Torts to Land                   Prisoner Petitions                                7609                                    = 470 Racketeer Influenced
 =245 Tort Product Liability          Li 535 Death Penalty                                                                              & Corrupt Organization
 =290 All Other Real Property         ED 540 Mandamus & Other                     Forfeiture/Penalty
                                                                                  = 625 Drug Related Seizure of                 = 480 Consumer Credit
                                      ED 550 Civil Rights
                                                                                           Property 21 USC 881                  = 490 Cable/Satellite TV
 Personal Property                    = 555 Prison Conditions
                                                                                                                                = 850 Securities/Commodities/
 = 370 Other Fraud                    ED 560 Civil Detainee — Conditions          El690 Other                                           Exchange
 = 371 Truth in Lending                        of Confinement
 = 380 Other Personal Property                                                    Other Statutes                                ri 896 Arbitration
         Damage                       Pro ertv Rights                             = 375 False Claims Act                        ETI 899 Administrative Procedure
                                      1U11
                                      1111 820 Copyrights                         = 376 Qui Tam (31 USC                                Act/Review or Appeal of
 = 385 Property Damage
                                      El830 Patent                                        3729(a))                                     Agency Decision
         Product Liability
                                      = 835 Patent — Abbreviated New              = 400 State Reapportionment                   ED 950 Constitutionality of State
                                              Drug Application                    = 430 Banks & Banking                                Statutes
                                      = 840 Trademark                             El 450 Commerce/ICC                           = 890 Other Statutory Actions
                                                                                          Rates/etc.                                   (if not administrative agency
                                                                                  = 460 Deportation                                     review or Privacy Act)
                             Case 1:18-cv-01473 Document 1-1 Filed 06/22/18 Page 2 of 2


 0 G.       Habeas Corpus/                    0 H.       Employment                           0 I.      FOIA/Privacy Act                  0 J.      Student Loan
            2255                                     Discrimination
       530 Habeas Corpus — General             ED 442 Civil Rights — Employment               EJ 895 Freedom of Information Act            EJ152 Recovery of Defaulted
       510 Motion/Vacate Sentence                      (criteria: race, gender/sex,                890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus—Alien                         national origin,                                (if Privacy Act)                             (excluding veterans)
           Detainee                                    discrimination, disability, age,
                                                       religion, retaliation)

                                              *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 0 K.       Labor/ERISA                        0 L.        Other Civil Rights                 0 M.        Contract                        0 N.     Three-Judge
            (non-employment)                               (non-employment)                                                                     Court
                                                                                                  110 Insurance
 EJ 710 Fair Labor Standards Act               ED 441 Voting (if not Voting Rights            11 120 Marine                                     441 Civil Rights — Voting
     720 Labor/Mgmt. Relations                          Act)                                  ED 130 Miller Act                                     (if Voting Rights Act)
     740 Labor Railway Act                     ri 443 Housing/Accommodations                  CI 140 Negotiable Instrument
     751 Family and Medical                    ED 440 Other Civil Rights                      ED 150 Recovery of Overpayment
          Leave Act                            Ej 445 Americans w/Disabilities —                      & Enforcement of
  ED 790 Other Labor Litigation                         Employment                                    Judgment
      791 Empl. Ret. Inc. Security Act              446 Americans w/Disabilities —            ED 153 Recovery of Overpayment
                                                        Other                                         of Veteran's Benefits
                                                    448 Education                             ED 160 Stockholder's Suits
                                                                                                  190 Other Contracts
                                                                                                  195 Contract Product Liability
                                                                                                  196 Franchise


 V. ORIGIN
 0 1 Original 0 2 Removed 0 3 Remanded        0 4 Reinstated 0 5 Transferred 0 6 Multi-district 0 7 Appeal to                                           0 8 Multi-district
    Proceeding     from State  from Appellate    or Reopened    from another       Litigation       District Judge                                         Litigation —
                   Court       Court                            district (specify)                  from Mag.                                               Direct File
                                                                                                    Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
  Section 7 of the Clayton Act, 15 U.S.C. § 18 -- Merger that substantially lessens competition

 V.    REQUESTED IN                          CHECK IF THIS IS A CLASS           DEMAND $                                        Check YES only if demanded in complaint
                                             ACTION UNDER F.R.C.P. 23                                                           YES              NO
       COMPLAINT                                                                    JURY DEMAND:

 VII. RELATED CASE(S)                        (See instruction)                                                                  If yes, please complete related case form
                                                                                YES                     NO
      IF ANY

 DATE:                      •                     SIGNATURE OF ATTORNEY OF RECORD                     ami
                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

     The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

                      CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk's Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
